Case: 1:17-md-02804-DAP Doc #: 1964-5 Filed: 07/23/19 1 of 6. PageID #: 163428




                              EXHIBIT 217
Case: 1:17-md-02804-DAP Doc #: 1964-5 Filed: 07/23/19 2 of 6. PageID #: 163429
Case: 1:17-md-02804-DAP Doc #: 1964-5 Filed: 07/23/19 3 of 6. PageID #: 163430
Case: 1:17-md-02804-DAP Doc #: 1964-5 Filed: 07/23/19 4 of 6. PageID #: 163431
Case: 1:17-md-02804-DAP Doc #: 1964-5 Filed: 07/23/19 5 of 6. PageID #: 163432
Case: 1:17-md-02804-DAP Doc #: 1964-5 Filed: 07/23/19 6 of 6. PageID #: 163433
